                                                                                                                    FILED
     Case 3:15-cv-01687-C Document 1-5 Filed 05/14/15                     Page 1 of 22 PageID 12 DALLAS COUNTY
                                                                                                      4/14/2015 6:47:19 PM
                                                                                                              FELICIA PURE
                                                                                                           DISTRICT CLERK


                                                  DC-15-04242                                          Tonya Pointer
                                 C A U S E NO.

 O R O Z C O , M A R I A AND                      §           IN T H E DISTRICT COURT
 OROZCO, JOSE
                                                  §
 VS.                                              §
                                                  §
 S T A T E F A R M F I R E AND                    §                  JUDICIAL DISTRICT
 C A S U A L T Y COMPANY
                                                  §           D A L L A S COUNTY, T E X A S



           PLAINTIFF'S ORIGINAL PETITION W I T H DISCOVERY ATTACHED

TO T H E HONORABLE JUDGE OF SAID COURT:

          NOW COME, Maria and John Orozco, (hereinafter referred to as " P l a i n t i f f ) , complaining

of Defendant, STATE F A R M FIRE A N D C A S U A L T Y COMPANY, (hereinafter referred to as

"Defendant") and hereby respectfully shows unto the Court and Jury as follows:

     I.   D I S C O V E R Y CONTROL PLAN

          Plaintiff intends for discovery to be conducted under Level 1 of Rule 190 o f the Texas

Rules of Civil Procedure.

 II.      PARTIES

1.        Plaintiff, Maria and John Orozco, is an individual and resident of D A L L A S COUNTY.

2.        Defendant, STATE F A R M FIRE A N D C A S U A L T Y COMPANY, is an insurance

company operating in the State of Texas, procuring and adjusting policies in Texas.              STATE

F A R M FIRE A N D C A S U A L T Y COMPANY can be served through its registered agent at the

following address, or wherever they may be located:

          Margie Southard
          8900 Amberglen Blvd
          Austin, T X 78729
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 HI.      JURISDICTION AND V E N U E

1.        This Court has jurisdiction over this case in that the amount in controversy exceeds the

minimum jurisdictional limits of this Court.

2.        Venue is mandatory and proper in D A L L A S COUNTY, Texas, because all or a substantial

part o f the events giving rise to the lawsuit occurred in this county (see Tex. Civ. Prac. & Rem.

Code § 15.002) and the insured property that is the basis of this lawsuit is located in D A L L A S

COUNTY, Texas.

 IV.      CONDITIONS PRECEDENT

          A l l conditions precedent to recover have been performed, waived, or have occurred.

     V.   FACTS

1.        Plaintiff is the owner o f insurance Policy No. 43QN77759 issued by the Defendant

(hereinafter the "Policy").

2.        Plaintiff owns the insured property which is specifically located at 4503 Ginger Avenue.

Dallas. Texas 75211 (hereinafter the "Property").

3.        Defendant or its agent sold the Policy, insuring the Property, to Plaintiff.

4.        On or about April 17, 2014, a wind and hail storm struck North Texas causing severe

damage to homes and businesses throughout the area, including Plaintiffs home.

5.        Plaintiff submitted a claim to Defendant against the Policy for roof and other damage and

resulting water damage the Property sustained as a result o f a wind and hail storm. Plaintiff asked

that Defendant cover the cost o f repairs to the Property pursuant to the Policy and any other

available coverages under the Policy.

6.        Defendant has assigned Claim Number 43-437W691 to Plaintiffs claim.

7.        Defendant hired and/or assigned an adjuster to adjust the claim.
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8.       Defendant's adjuster and Defendant failed to properly adjust the claims and Defendant has

denied at least a portion of the claims without an adequate investigation, even though the Policy

provided coverage for losses such as those suffered by Plaintiff.

9.       Plaintiffs claim still remains unpaid and Plaintiff still has not been able to properly repair

the Property.

10.      Defendant failed to perform its contractual duty to adequately compensate Plaintiff under

the terms o f the Policy. Specifically, Defendant failed and refused to pay the full proceeds of the

Policy, although due demand was made for proceeds to be paid in an amount sufficient to cover

the damaged Property and all conditions precedent to recovery upon the Policy had been carried

out and accomplished by Plaintiff. Defendant's conduct constitutes a breach o f the insurance

contract between Defendant and Plaintiff.

11.      Defendant misrepresented to Plaintiff that the damage to the Property was not covered

under the Policy, even though the damage was caused by a covered occurrence. Defendant's

conduct constitutes a violation o f the Texas Insurance Code, Unfair Settlement Practices. TEX.

INS, CODE Section 541.060(a)(1).

12.     Defendant failed to make an attempt to settle Plaintiffs claim in a fair manner, although it

was aware o f its liability to Plaintiff under the Policy. Defendant's conduct constitutes a violation

of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE Section 541.060

(a)(2)(A).

13.     Defendant failed to explain to Plaintiff the reasons for its offer of an inadequate settlement.

Specifically, Defendant failed to offer Plaintiff adequate compensation, without any explanation

why f u l l payment was not being made. Furthermore, Defendant did not communicate that any

future settlements or payments would be forthcoming to pay for the entire losses covered under
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the Policy, nor did it provide any explanation for the failure to adequately settle Plaintiffs claim.

Defendant's conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

Practices. TEX. INS. CODE Section 541.060(a)(3).

14.    Defendant failed to affirm or deny coverage of Plaintiff s claim within a reasonable time.

Specifically. Plaintiff did not receive timely indication of acceptance or rejection, regarding the

full and entire claim, in writing from Defendant. Defendant's conduct constitutes a violation of the

Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE Section 541.060(a)(4).

15.    Defendant refused to fully compensate Plaintiff, under the terms of the Policy, even though

Defendant failed to conduct a reasonable investigation. Specifically, Defendant performed an

outcome-oriented investigation of Plaintiffs claim, which resulted in a biased, unfair and

inequitable evaluation of Plaintiffs losses to the Property. Defendant's conduct constitutes a

violation o f the Texas Insurance Code. Unfair Settlement Practices. TEX. INS. CODE Section

541.060(a)(7).

16.    Defendant failed to meet its obligations under the Texas Insurance Code regarding timely

acknowledging Plaintiff s claim, beginning an investigation of Plaintiff s claim and requesting all

information reasonably necessary to investigate Plaintiffs claim within the statutorily mandated

deadline. Defendant's conduct constitutes violation of the Texas Insurance Code, Prompt Payment

of Claims, TEX. INS. CODE Section 542.055.

17.    Defendant failed to accept or deny Plaintiff s f u l l and entire claim within the statutory

mandated deadline o f receiving all necessary information. Defendant's conduct constitutes

violation o f the Texas Insurance Code, Prompt Payment o f Claims. TEX. INS. CODE Section

542.056.
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18.       Defendant failed to meet its obligations under the Texas Insurance Code regarding payment

of claim without delay. Specifically. Defendant has delayed f u l l payment of Plaintiffs claim

longer than allowed and. to date; Plaintiff has not yet received f u l l payment for their claim.

Defendant's conduct constitutes violation of the Texas Insurance Code, Prompt Payment of

Claims, TEX. INS. CODE Section 542.058.

19.       From and after the time Plaintiffs claim was presented to Defendant, the liability of

Defendant to pay the f u l l claim in accordance with the terms of the Policy was reasonably clear.

However, Defendant has refused to pay Plaintiff in full, despite there being no basis whatsoever

on which a reasonable insurance company would have relied to deny the full payment. Defendant's

conduct constitutes a breach of the common law duty of good faith and fair dealing.

20.       As a result of Defendant's wrongful acts and omissions, Plaintiff was forced to retain the

professional services o f the attorney and law f i r m who is representing Plaintiff with respect to

these causes o f action.

 VI.      CAUSE OF ACTION - B R E A C H O F CONTRACT

1.        Plaintiff re-alleges and incorporates by reference all previous and subsequent paragraphs

herein.

2.        According to the Insurance Policy that Plaintiff purchased. Defendant has the duty to

investigate and pay Plaintiffs policy benefits for claims made for covered damages, including

additional benefits under the Policy, resulting from a wind and hail storm. As a result o f a Wind

and Hailstorm and/or ensuing losses from a wind and hail storm, both of which are covered perils

under the Policy, Plaintiffs home and personal Property have been damaged.

3.        Defendant's failure and refusal, as described above, to pay the adequate compensation as

it is obligated to do under the terms o f the Policy in question and under the laws of the State of
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Texas, constitutes a breach of Defendant's contract with Plaintiff. As a result o f this breach o f

contract. Plaintiff has suffered the damages that are described in this petition.

VII.      C A U S E O F A C T I O N - V I O L A T I O N O F S E C T I O N 542

1.        Plaintiff re-alleges and incorporates by reference all previous and subsequent paragraphs

herein.

2.        Defendant's acts, omissions, failures and conduct that are described in this petition violate

Section 542 of the Texas Insurance Code. Within the timeframe required after the receipt of either

actual or written notice of Plaintiff s claim. Defendant did not request from Plaintiff any items,

statements, and forms that it reasonably believed at that time would be required from Plaintiff for

their claim. As a result. Defendant has violated Section 542 by failing to accept or reject Plaintiffs

claim in writing within the statutory timeframe. Defendant also violated Section 542 by failing to

pay Plaintiff s claim within the applicable statutory period. In addition, in the event it is determined

that Defendant owes Plaintiff any additional monies on Plaintiffs claim, then Defendant has

automatically violated Section 542 in this case.

VIII.     CAUSE OF ACTION - VIOLATION OF DECEPTIVE TRADE PRACTICES ACT

1.        Plaintiff re-alleges and incorporates by reference all previous and subsequent paragraphs

herein.

2.        Plaintiff incorporates all the allegations in this petition for this cause o f action against

Defendant under the provisions of the DTPA. Plaintiff is a consumer o f goods and services

provided by Defendant pursuant to the DTPA. Plaintiff has met all conditions precedent to bringing

this cause o f action against Defendant. Specifically, Defendant's violations of the DTPA include,

without limitation, the following matters:
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       i.      By its acts, omissions, failures, and conduct that are described in this petition.

Defendant has violated Sections 17.46 (b)(2), (5). (7), (9), (12) and (24) of the DTPA. In this

respect. Defendant's violations include, without limitation. (1) its unreasonable delays in the

investigation, adjustment and resolution of Plaintiffs claim, (2) its failure to give Plaintiff the

benefit of the doubt, and (3) its failure to pay for the proper repair of Plaintiff s home on which

liability had become reasonably clear;

       ii.     As described in this petition. Defendant represented to Plaintiff that its insurance

policy and Defendant's adjusting and investigative services had characteristics or benefits that they

did not have, which gives Plaintiff the right to recover under Section 17.46 (b)(5) o f the DTPA;

       iii.    As described in this petition, Defendant represented to Plaintiff that its insurance

policy and Defendant's adjusting and investigative services were of a particular standard, quality,

or grade when they were of another in violation o f Section 17.46 (b)(7) of the DTPA; As described

in this petition, Defendant advertised its insurance policy and adjusting and investigative services

with intent not to sell them as advertised in violation o f Section 17.46 (b)(9) of the DTPA;

       iv.     As described in this petition. Defendant represented to Plaintiff that its insurance

policy and Defendant's adjusting and investigative services conferred or involved rights, remedies,

or obligations that they did not have, which gives Plaintiff the right to recover under Section 17.46

(b)(12)oftheDTPA;

       v.      As described in this petition. Defendant failed to disclose information concerning

goods or services which were known at the time of the transaction and such failure to disclose was

intended to induce Plaintiff into a transaction into which the Plaintiff would not have entered had

the information been disclosed, which gives Plaintiff the right to recover under Section 17.46

(b)(24)oftheDTPA;
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          vi.     Defendant has breached an express warranty that the damage caused by a wind and

hail storm would be covered under the insurance policies. This breach entitles Plaintiff to recover

under Sections 17.46 (b)(12) and (19) and 17.50 (a)(2 ) of the DTPA;

          vii.    Defendant's actions, as described in this petition, are unconscionable in that it took

advantage of Plaintiff's lack of knowledge, ability, and experience to a grossly unfair degree.

Defendant's unconscionable conduct gives Plaintiff the right to relief under Section 17.50(a)(3) of

the DTPA; and

          viii.   Defendant's conduct, acts, omissions, and failures, as described in this petition, are

unfair practices in the business of insurance in violation o f Section 17.50(a)(4 ) o f the DTPA.

3.        A l l of the above-described acts, omissions, and failures of Defendant are a producing cause

of Plaintiffs damages that are described in this petition. A l l of the above-described acts, omissions,

and failures o f Defendant were done knowingly and intentionally as those terms are used in the

Texas Deceptive Trade Practices Act.

 IX.      CAUSE O F A C T I O N - U N F A I R I N S U R A N C E P R A C T I C E S

1.        Plaintiff re-alleges and incorporates by reference all previous and subsequent paragraphs

herein.

2.        Plaintiff incorporates all the allegations in this petition for this cause of action against

Defendant under the Texas Insurance Code. Plaintiff has satisfied all conditions precedent to

bringing this cause o f action. By its acts, omissions, failures, and conduct, Defendant has engaged

in unfair and deceptive acts or practices in the business o f insurance in violation of 541 o f the

Texas Insurance Code. Such violations include, without limitation, all the conduct described in

this petition plus Defendant's unreasonable delays in the investigation, adjustment, and resolution

of Plaintiff s claim and Defendant's failure to pay for the proper repair of Plaintiff s home on which
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liability had become reasonably clear. They further include Defendant's failure to give Plaintiff the

benefit of the doubt. Specifically, Defendant is guilty of the following unfair insurance practices.

          i.     Engaging in false, misleading, and deceptive acts or practices in the business of

insurance in this case;

          ii.    Misrepresenting to Plaintiff pertinent facts or policy provisions relating to the

coverage at issue;

          iii.   Not attempting in good faith to effectuate a prompt, fair, and equitable settlement

of claims submitted in which liability has become reasonably clear;

          iv.    Failing to affirm or deny coverage of Plaintiff s claim within a reasonable time;

          v.     Refusing to pay Plaintiffs claim without conducting a reasonable investigation

with respect to the claim; and

          vi.    Failing to provide promptly to a policyholder a reasonable explanation of the basis

in the insurance policy in relation to the facts or applicable law for the denial of a claim or for the

offer o f a company's settlement.

3.        Defendant has also breached the Texas Insurance Code when it breached its duty of good

faith and fair dealing. Defendant's conduct as described herein has resulted in Plaintiffs damages

that are described in this petition.

4.        A l l of the above-described acts, omissions, and failures of Defendant were done knowingly

as that term is used in the Texas Insurance Code.

  X.      CAUSE OF ACTION - B R E A C H OF DUTY OF GOOD FAITH & FAIR DEALING

1.        Plaintiff re-alleges and incorporates by reference all previous and subsequent paragraphs

herein.
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2.        Plaintiff incorporates all the allegations of the preceding paragraphs for this cause of action.

By its acts, omissions, failures and conduct. Defendant has breached its common law duty o f good

faith and fair dealing by failing to pay the proper amounts on Plaintiffs entire claim without any

reasonable basis and by failing to conduct a reasonable investigation to determine whether there

was a reasonable basis for this denial. Defendant has also breached this duty by unreasonably

delaying payment of Plaintiff s entire claim and by failing to settle Plaintiffs entire claim because

Defendant knew or should have known that it was reasonably clear that the claim was covered.

3.        These acts, omissions, failures, and conduct of Defendant are a proximate cause of

P l a i n t i f f s damages.

 XI.      CAUSE OF A C T I O N - FRAUD

1.        Plaintiff re-alleges and incorporates by reference all previous and subsequent paragraphs

herein.

2.        Defendant is liable to Plaintiff for common law fraud. Each and every one of the

representations, as described above, concerned material facts for the reason that absent such

representations, Plaintiff would not have acted as they did, and which Defendant knew were false

or made recklessly without any knowledge of their truth as a positive assertion. The statements

were made with the intention that they should be acted upon by Plaintiff, who in turn acted in

reliance upon the statements, thereby causing Plaintiff to suffer injury and constituting common

law fraud.

 XII.     W A I V E R AND E S T O P P E L

          Defendant has waived and is estopped from asserting any coverage defenses, conditions,

exclusions, or exceptions to coverage not contained in any reservation o f rights letter to Plaintiff.
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XIII.   DAMAGES

        The above-described acts, omissions, failures and conduct of Defendant has caused

Plaintiffs damages which include, without limitation, the cost to properly repair Plaintiffs home

and any investigative and engineering fees incurred in the claim. Plaintiff is also entitled to recover

consequent ial damages from Defendant's breach of contract. Plaintiff is also entitled to recover the

amount of their claim plus an 18% per annum penalty on that claim against Defendant as damages

under Section 542 of the Texas Insurance Code, plus prejudgment interest and attorneys' fees. A l l

the damages described in this petition are within the jurisdictional limits of the Court.

XIV.    S T A T E M E N T O F R E L I E F AND A M O U N T O F D A M A G E S

        The total damages sought by Plaintiff against Defendant for all elements o f damage do not

exceed the sum o f $75,000 exclusive o f interest and costs, and for the purposes o f Texas Rules of

Civil Procedure Rules 47 and 169, this amount does not exceed $ 100,000, including exemplary

and punitive damages, penalties, attorneys' fees, interest, and costs. Plaintiff further pleads for

judgment for all the other relief to which it deems justly entitled.

 XV.    ADDITIONAL DAMAGES

        Defendant has also "knowingly" and "intentionally" committed deceptive trade practices

and unfair insurance practices as those terms are defined in the applicable statutes. Because of

Defendant's knowing and intentional misconduct, Plaintiff is entitled to additional damages as

authorized by Section 17.50(b)(1) o f the DTPA. Plaintiff is further entitled to the additional

damages that are authorized by Section 541 of the Texas Insurance Code.

XVI.    E X E M P L A R Y DAMAGES

        Defendant's breach o f its duty of good faith and fair dealing owed to Plaintiff was done

intentionally, with a conscious indifference to the rights and welfare of Plaintiff and with "malice"
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as that term is defined in Chapter 41 of the Texas Civil Practice and Remedies Code. These

violations by Defendant are the type of conduct which the State of Texas protects its citizen against

by the imposition of exemplary damages. Therefore, Plaintiff seeks the recovery of exemplary

damages in an amount to be determined by the finder of fact that is sufficient to punish Defendant

for their wrongful conduct and to set an example to deter Defendant and others similarly situated

from committing similar acts in the future.

XVII. ATTORNEY'S FEES

        As a result of Defendant's conduct that is described in this petition, Plaintiff has been forced

to retain the undersigned attorneys to prosecute this action and have agreed to pay reasonable

attorneys' fees. Plaintiff is entitled to recover these attorneys' fees under Chapter 38 o f the Texas

Civil Practices and Remedies Code, Sections 541 and 542 of the Texas Insurance Code, and

Section 17.50 of the DTPA.

XVIII. WRITTEN DISCOVERY

        Plaintiffs Requests for Production and Interrogatories to Defendant are attached hereto.

XIX.    J U R Y DEMAND

        Plaintiff asserts Plaintiffs right to a trial by jury, under Texas Constitution Article 1,

Section 15. and makes this demand for a jury trial at least 30 days before the date this case is set

for trial, in accordance with Texas Rule of Civil Procedure 216. Plaintiff tenders the fee o f $30.00,

as required by Texas Government Code Section 51.604.

 XX.    PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant be cited to

appear and answer herein, and that upon trial hereof, said Plaintiff has and recover such sums as

would reasonably and justly compensate them in accordance with the rules of law and procedure,
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both as to actual damages, consequential damages, treble damages under the Texas Insurance Code

and Texas Deceptive Trade Practices Act, and all punitive, additional, and exemplary damages as

may be found. In addition. Plaintiff requests the award of attorney's fees for the trial and any appeal

of this case, for all costs of court, for prejudgment and post judgment interest as allowed by law,

and for any other and further relief, at law or in equity, to which they may show themselves to be

justly entitled.

                                               Respectfully Submitted,

                                               MARTINEZ HSU, P.C.
                                               1601 E. Lamar Blvd., Ste. 114
                                               Arlington, TX 76011
                                               Tel: (682) 224-7810
                                               Fax:(682)730-8998

                                                 /s/ Marcos P. Martinez
                                               Marcos P. Martinez
                                               State Bar No. 24087984
                                                                                         ,
                                               E-mail: marcpmarti.nez@mhlegalgroiqp-. com
                                               Attorney for Petitioner, Maria and .lose Orozco
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                               C A U S E NO.

 O R O Z C O , M A R I A AND                    §          IN T H E D I S T R I C T COURT
 OROZCO, JOSE                                   §

 VS.                                            8


 S T A T E F I R E AND C A S U A L T Y          §                JUDICIAL DISTRICT
 COMPANY
                                                           DALLAS COUNTY, TEXAS



      PLAINTIFF'S REQUESTS FOR PRODUCTION AND INTERROGATORIES T O
                     DEFENDANT INSURANCE COMPANY

TO:     Defendant. STATE FIRE A N D CASUALTY COMPANY, by and through its registered
        agent for service of process along with Plaintiffs Original Petition which is attached
        hereto.

        COMES NOW, Maria and John Orozco ( " P l a i n t i f f ) and. pursuant to the Texas Rules of

Civil Procedure, hereby serves her/his Requests for Production and Interrogatories.         Plaintiff

requests that Defendant timely and properly respond to these discovery requests within 50 days of

service in accordance with the Texas Rules of Civil Procedure.

                                               Respectfully Submitted,

                                               MARTINEZ HSU. P.C.
                                               1601 E. Lamar Blvd., Ste. 114
                                               Arlington, TX 76011
                                               Tel: (682)224-7810
                                               Fax:(682) 730-8998

                                                 /s/ Marcos P. Martinez
                                               Marcos P. Martinez
                                               State Bar No. 24087984
                                               E-mail: marcpmartinez(q),mhle gal group. com
                                               Attorney for Petitioner, Maria and Jose Orozco
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                                C E R T I F I C A T E OF S E R V I C E

       I certify that a true and correct copy of the foregoing was served along with Plaintiffs

Original Petition on the Defendant in accordance with the Texas Rules of Civil Procedure.




                                                /s/ Marcos P. Martinez
                                              Marcos P. Martinez
                                              State Bar No. 24087984
                                              E-mail: marcpmartinez@mhlegalgroup.com
                                              Attorney for Petitioner, Maria and Jose Orozco
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                                       INSTRUCTIONS

1.    Produce the Documents in your possession, custody, or control, as such phrase is defined
      in Texas Rule o f Civil Procedure 192.7(b), described in the attached requests for
      production, at the offices of the undersigned counsel within thirty (30) days following
      service o f the request upon you or your attorney.

2.    Please respond to the attached Interrogatories in accordance with the requirements of Texas
      Rule of Civil Procedure 197 and return your responses to the offices of the undersigned
      counsel within thirty (30) days following service o f the request upon you or your attorney.

3.    Please respond to the attached Request for Production in accordance with the requirements
      of Texas Rule o f Civil Procedure 196 and return your responses to the offices of the
      undersigned counsel within thirty (30) days following service of the request upon you or
      your attorney

4.    Pursuant to Rule 197.2(d), your Interrogatory answers must be verified. Pursuant to Rule
      197.2(c), where appropriate, you may optionally produce records in response to the
      Interrogatories. Place your response to each Request and Interrogatory in a separate
      document and restate each Request and Interrogatory followed by your response.

5.    Singular and masculine forms of any nouns or pronouns shall embrace and be applied as
      the plural, feminine, or neuter, as the context requires, and vice versa.

6.    The past tense o f any verb shall embrace and be applied as the present tense, as the context
      requires or as applicable, or vice versa.

7.    Each request is to be construed and answered or responded to separately and independently,
      and is not to be referenced to any other request for purposes of limitations.

8.    These requests and interrogatories and your answers to them may be offered in evidence at
      the trial of this case.

9.    Your failure to respond to these requests and interrogatories as required by the Texas Rules
      of Civil Procedure within the time required may result in entry of judgment against you,
      assessment of attorney's fees against you, or other sanctions as determined by the Court.

10.   These requests are continuing in nature and require supplementation as soon as practical i f
      you or your attorney obtain information which reveals that your answers were incorrect or
      incomplete when made or that your answers are no longer correct or complete.

11.   Documents produced pursuant to these requests should be tendered either in the precise
      form or manner as they are kept in the usual course of business, or organized and labeled
      to correspond with the categories in the requests to which they respond.

12.   These requests include request for production of electronic or magnetic data by either: (1)
      providing the undersigned counsel with access to the medium upon which such date is kept
      so that such data may be reviewed, copied and/or printed; or (2) providing the undersigned
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      counsel with a copy o f such data on disk, CD. tape or other acceptable medium in a form
      in which it may be reviewed, copied and/or printed.

13.   The Interrogatories and Requests herein requesting information concerning legal
      contentions and the factual bases of such contentions are propounded pursuant to Texas
      Rules of Civil Procedure, Paragraph 192.3(j).

14.   I f you withhold any Documents from production, please identify the information and
      material withheld and the specific privilege asserted for each item or group o f items
      withheld, as required by Texas Rules o f Civil Procedure 193.3(b). T H I S I S A R E Q U E S T
      FOR A PRIVILEGE LOG.

15.   "Defendant" or "INSURANCE COMPANY." "You," "Your." and/or "Yourself means
      Defendant, STATE F A R M FIRE A N D CASUALTY COMPANY, and its agents,
      representatives, attorneys, and any other person or entity acting on behalf of it or any of
      the foregoing.

16.   "Plaintiff means Plaintiff, Maria and Jose Orozco, and her/his agents, representatives,
      attorneys, and any other person or entity acting on behalf o f him or any o f the foregoing.

17.   The "Property" means the residence(s) specifically described in Plaintiffs Petition and
      which is the insured's property(ies) at issue in this Lawsuit.

18.   The "Lawsuit" means the above-styled and numbered case.

19.   "Party" or "Parties" shall mean any and/or all parties to the Lawsuit, including Plaintiff
      and/or any Defendants.

20.   The "Petition" means Plaintiffs Original Petition and/or any amendments and supplements
      thereto filed in the Lawsuit.

21.   The "Policy" means Policy Number(s) issued by Defendant, which is the basis o f this
      Lawsuit.

22.   The word "Document" or "Documents" is used herein in its broadest sense to include any
      medium upon or with which information is recorded or preserved which belongs to, or is
      in or subject to the possession, custody or control of, any of the Parties named and defined
      hereinabove, by whomever generated or received, including without limitation: writings;
      printings; drawings; graphs; charts; notes; typewritings; photographs; slides; motion
      pictures; videotapes or cassettes; phonographs records; type or other mechanical
      recordings; computer records; electronic mail (e-mail - whether in electronic form or
      printed on paper or in any other form); information storage devices; disks; or printouts;
      brochures; pamphlets; maps; surveys; calendars; contracts; interoffice communications;
      telephone recordings; ledgers; books; statements of account; journals; notices; letter;
      catalogs; canceled checks; bank statements; invoices; bills; diaries; purchase orders;
      memoranda of telephone communications; telegrams; telexes or "TWX's"; telecopies;
      drafts or preliminary versions of the foregoing; communications to or from any
      governmental or law enforcement sub-division, officer, or agency; and, any other
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      instrument, writing, recording, or data compilation of any nature whatsoever, including any
      carbon, photographic, microfilm, or other type of copy of such items, i f such copy is
      different from the original by reasons of any markings, additions, commentaries, revisions,
      deletions, or substitutions. This definition requires you to search for and produce
      electronic Documents.

23.   The term "person" as used herein shall mean and include an individual, sole proprietorship,
      association, firm, partnership, joint venture, corporation, board, committee, agency,
      commission, or any other legal entity of any type for any purpose, whether public or
      private.

24.   The terms "reflecting" or "evidencing," when used in reference to a certain subject or thing
      as used herein, shall mean and include to reflect, to evidence, to mention, to discuss, to
      describe, to explain, to embody, to constitute, or to include that subject or thing.

25.   The term "correspondence" means the written or unwritten transmittal of information or
      data in the form o f facts, ideas, inquiries or otherwise, including but not limited to e-mails,
      text messages, instant messages, written Documents, facsimiles, saved computer data, and
      audio and video recordings.

26.   "Meeting" means any encounter between two or more persons during which an oral or
      written communication occurred and includes, but is not limited to, formal and informal
      gatherings, conversations and telephone conversations.

27.   The term "communicate" or "communication" shall mean (a) every manner or means of
      communication, disclosure, transfer, or exchange of information and, (b) every
      communication, disclosure, transfer, or exchange of information, whether made or
      accomplished orally or by Document, whether in person, by telephone, mail, e-mail,
      facsimile, personal delivery, or otherwise. Communications includes, but is not limited to,
      all agreements.

28.   The term "or" as used herein shall mean and include "and" or "and/or".

29.   The term "all" as used herein shall mean "any" and "all".

30.   The term "including" as used herein shall mean "including but not limited to".

31.   The term "fact" as used herein shall include, without limitation, every relevant matter,
      occurrence, act, event, transaction, occasion, meeting, Document, instance, circumstance,
      recitation, writing, or other happening.
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                               REQUEST FOR PRODUCTION

       Please produce the following documents or tangible things and/or answer the following

requests for production, as applicable;

1.     A complete, certified copy o f the insurance Policy(s) in effect on the date of Plaintiffs
       claim(s).

2.     The entire claims investigation files generated and maintained by Defendant in the ordinary
       course o f business pertaining to Plaintiffs claim(s) making the basis o f this lawsuit.

3.     A l l communications and documents, including electronic, between Defendant and Plaintiff
       regarding Plaintiffs claim(s).

4.     A l l communications and documents, including electronic, between Defendant and any
       third party regarding Plaintiffs claim(s).

5.     A l l photographs, diagrams, drawings, or other graphic depictions of Plaintiff s and/or the
       Property.

6.     A n y and all documents, reports, estimates, data, emails, notes, photos, videos, manuals,
       guides, and summaries regarding the insurance claim(s) made the basis o f this Lawsuit,
       including but not limited to all estimates prepared by all claims adjusters of Defendant
       regarding the Property and all reports prepared by all engineers hired by Defendant to
       inspect, test, or observe the Property.

7.     A n y and all claims files and claim reports, including but not limited to notes, emails, data,
       photos, videos, manuals, guides, summaries and claim documents, regarding all
       homeowner insurance claims made by Plaintiffs under their homeowner insurance
       policies, specifically regarding damage to the exterior and interior of Plaintiff s property.
       This request is limited to the last ten (10) years.

8.     A l l documents including reports, estimates, data, emails, testing, sampling, videos and
       photographs received by Defendant from any source regarding inspections of Plaintiff s
       property.

9.     Any and all records or documents Defendant has reviewed and/or obtained regarding
       Plaintiffs Property.

10.    A n y and all claims files Defendant has reviewed and/or obtained regarding Plaintiffs
       Property.

11.    Any and all materials, documents, files, invoices, and/or reports o f any and all contractors
       and engineering companies retained to investigate, inspect, and/or evaluate Plaintiffs
       claim(s) that are the subject o f this lawsuit, prepared on behalf o f the Defendant.
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12.   Any and all activity logs relating to Plaintiffs claim(s) for property and water damage
      claims, to their Property, specifically the claim(s) made the basis of this Lawsuit,

13.   Any and all documents reflecting or relating to Defendant's decisions to pay or deny
      additional expenses to or on behalf of Plaintiff in this case.

14.   Any and all records reflecting payment to Plaintiff concerning Plaintiffs claim(s) made
      the basis of this suit.

15.   A l l documents and communications, including electronic, between any engineer(s) or
      engineering company(s), used to evaluate Plaintiffs claim(s), or other person(s) used in
      handling Plaintiffs claim(s) and Defendant in the last five years regarding, i n any way. the
      investigation of a homeowners' residence, commercial building or church involving
      damages to the structures or its contents.



                                        INTERROGATORIES

1.    State the name, address, telephone number, and position or job title o f all persons
      answering these interrogatories.

2.    If you contend that any conditions precedent to Plaintiffs recovery have not been met,
      whether said conditions be stated in the insurance policy or required by law, please state
      what conditions have not been met and describe the factual bases for such contention.

3.    List the date(s) Defendant received Plaintiffs notice o f claim(s) for coverage for property
      damages and the date(s) Defendant first acknowledged Plaintiffs notice of claim(s) and in
      what form the notice o f claim was submitted.

4.    State the name, address, telephone number, and job title or position of all persons who
      investigated, reviewed, handled, or made decisions regarding Plaintiffs claim(s). For all
      such persons who are no longer employees, agents, or representatives of any defendant,
      please so indicate and provide the person's last known address and telephone number,

5.    State every basis, in fact and in the terms of Plaintiff s Policy, for Defendant's denial and/or
      recommendation of denial of Plaintiff s' claim(s) under the Policy.

6.    State every basis, in fact and in the terms of Plaintiff s Policies, for Defendant's failure to
      pay for Plaintiffs f u l l damage claim(s) under the Policy.

7.    State every basis, in fact and in the terms of Plaintiff s Policy, for the amount o f money
      Defendant has either paid or offered to pay, i f any, for Plaintiffs claim(s) under the Policy.

8.    State the legal theories and describe the factual bases for your contention, i f you so contend,
      that Defendant fully complied with each of the claims handling requirements codified in
      Tex. Ins. Code §541.060.
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9.       State the legal theories and describe the factual bases for your contention, i f you so contend,
         that Defendant fully complied with each of the claims handling requirements codified in
         Tex. Ins. Code §542.055.

10.      State the legal theories and describe the factual bases for your contention, if you so contend,
         that Defendant fully complied with each of the claims handling requirements codified in
         Tex. Ins. Code §542.056.

11.      State the legal theories and describe the factual bases for your contention, i f you so contend,
         that Defendant fully complied with each of the claims handling requirements codified in
         Tex. Ins. Code §542.058.

12.      Please describe all conversations, communications, conferences, representations or
         meetings, including the date, time, location, and method of contact, between you and
         Plaintiff regarding the claim that is the subject of this lawsuit .

13.      Please indicate the length of time Plaintiff has been insured by Defendant's company
         within the last 10 years.
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              STATE OF TEXAS
              COUNTY OF DALLAS        }
              I, FELICIA PITRE, Clerk of the District of Dallas County,
              Texas, do hereby certify that I have compared this instrument
              to be a true and correct copy of the original as appears on
              record In my office.
              GIVEN UNDER MY HAND AND SEAL olj
              In Dallas, Texas, this   ' * day of.
                                  FELICIA PITRE, Dl:

                                                                    Deputy
